 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 1 of 6 Page ID
                                 #:47145


1
2
3
4
5
6
7
8
                           UNITED STATES DISTRICT COURT
9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   JENNY LISETTE FLORES., et al.,           Case No. CV 85-4544-DMG (AGRx)
12                   Plaintiffs,              ORDER APPOINTING JUVENILE
13         v.                                 CARE MONITOR [1279]
14   MERRICK B. GARLAND, Attorney
15   General of the United States, et al.,

16                Defendants.
     ________________________________
17
18
           On July 29, 2022, the Court granted final approval of the parties’ Customs and
19
     Border Protection (“CBP”) Settlement Agreement (“Agreement”) [Doc. # 1254-1].
20
     [Doc. # 1278]. The Agreement provides that the Court will appoint a Juvenile Care
21
     Monitor to oversee compliance with the Agreement. The Court agrees that such
22
     appointment is necessary under the Agreement and will assist the efforts of the parties
23
     and the Court to ensure compliance with the Agreement.
24         Accordingly, UPON CONSIDERATION of the parties’ Joint Motion for
25   Approval of Juvenile Care Monitor (“Joint Motion”) [Doc. # 1279], the Court hereby
26   GRANTS the parties’ Joint Motion and APPOINTS Dr. Paul H. Wise as the Juvenile
27   Care Monitor with all of the authorities detailed in the parties’ Agreement. Dr. Wise
28
 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 2 of 6 Page ID
                                 #:47146


1    shall also retain his role as the Court’s Special Expert until otherwise ordered by the
2    Court.
3             Fees and Expenses: The Juvenile Care Monitor shall be entitled to
4    reimbursement of reasonable fees and expenses. These fees and expenses will be
5    subject to a cap of $310,000 annually. On a monthly basis, the Juvenile Care Monitor

6    shall provide CBP with a detailed record of hours billed and expenses incurred in the

7    preceding month.
              If CBP disputes a bill from the Juvenile Care Monitor, it shall have 15 days to
8
     review and submit objections to the Juvenile Care Monitor or to request additional
9
     documentation from the Juvenile Care Monitor. If any dispute over the Juvenile Care
10
     Monitor’s bill is not resolved within 30 days, CBP will submit the dispute to the Court
11
     for resolution.
12
              Monitoring Assistance: The Juvenile Care Monitor may identify proposed
13
     aides and/or medical professionals unaffiliated with CBP or with Plaintiffs and, through
14
     the Special Master/Independent Monitor, seek Court approval (or, after the expiration
15
     of the Special Master/Independent Monitor’s term, directly from the Court) for the
16
     hiring of such aides and/or medical professionals to assist the Juvenile Care Monitor in
17   all aspects of his or her monitoring work. Both Parties must agree to any proposed aides
18   or medical professionals.      Such aides or medical professionals, acting under the
19   supervision of the Juvenile Care Monitor, may inspect CBP facilities and records, and
20   interview CBP employees, regarding compliance with the Agreement. These aides
21   and/or medical professionals will be paid for their services, and these payments will be
22   subject to the annual cap designated above.
23            Monitoring Protocol: The Juvenile Care Monitor will prepare a monitoring
24   protocol which will be adhered to by the Juvenile Care Monitor and all Parties.
25            Access to Information Necessary for Monitoring: The Juvenile Care Monitor
26   will be subject to the Protective Order Governing the Handling of Confidential Material
27   Related to Oversight by Special Master/Independent Monitor (“Protective Order”)
28   [Doc. # 513]. Subject to that Protective Order, the Juvenile Care Monitor will have
 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 3 of 6 Page ID
                                 #:47147


1    access to CBP documents and records, may conduct announced and unannounced visits
2    to U.S. Border Patrol facilities in the RGV and El Paso Sectors, may conduct interviews
3    with class members and accompanying adult family members, and may conduct
4    interviews with CBP employees and the employees of its contractors.
5            The Juvenile Care Monitor may inspect CBP facilities in the RGV and El Paso

6    Sectors, and may also request data from CBP in order to determine whether CBP is in

7    compliance with the terms of the Agreement, including whether there is overcrowding,
     as defined below, at CBP juvenile priority facilities, as defined in the Agreement. When
8
     conducting inspections of non-priority facilities, as defined in the Agreement, such
9
     visits shall be solely for the purpose of determining whether the facility is prepared to
10
     hold class members in compliance with the Agreement.
11
             The Juvenile Care Monitor may, in his or her discretion, provide Class Counsel
12
     with documents or information provided by CBP, to the extent that he or she determines
13
     that such sharing would facilitate the performance of his or her duties in monitoring
14
     compliance with the terms of the Agreement, including monitoring whether there is
15
     overcrowding at CBP juvenile priority facilities in RGV and El Paso Sectors, as defined
16
     below.
17           Reporting: The Juvenile Care Monitor will prepare quarterly reports for the
18   Court and provide them to the Special Master/Independent Monitor (for the duration of
19   her term) and the Parties. The Juvenile Care Monitor will file these reports with the
20   Court. If these reports are deemed confidential by the Special Master/Independent
21   Monitor, the Juvenile Care Monitor, or either Party, the parties will stipulate to file them
22   under seal with the Court. Each report shall be accompanied by a summary that will be
23   filed on the public docket. Either Party may file objections to or comments to the
24   reports. Any objections or comments regarding confidential matters shall be filed under
25   seal.
26           Notification of Noncompliance: The Juvenile Care Monitor will promptly
27   notify CBP and Defendants’ Counsel of any observed failure to substantially comply
28   with the Agreement or the Flores Settlement Agreement within the RGV or El Paso
 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 4 of 6 Page ID
                                 #:47148


1    Sectors and, if the situation is not timely remedied, promptly notify the Special
2    Master/Independent Monitor (for the duration of her term), the CBP Juvenile
3    Coordinator, and Class and Defendants’ Counsel of any observed failure to substantially
4    comply with the Agreement. The Juvenile Care Monitor may inform the Independent
5    Monitor/Special Master and Class Counsel of any site visits or other steps taken to

6    monitor compliance with the Agreement.

7          Monitoring Overcrowding: The Juvenile Care Monitor shall be responsible for
     monitoring overcrowding, in addition to monitoring compliance with all terms of the
8
     Agreement. Overcrowding is defined as a level of occupancy that exceeds the physical
9
     space required to maintain a safe and sanitary environment for each individual in
10
     custody.
11
           (i) CBP shall provide the Juvenile Care Monitor with the information he or she
12
     determines, in consultation with CBP, is necessary to assess the potential for or actual
13
     overcrowding in juvenile priority facilities. This information shall include occupancy
14
     data for all pods and cells in CBP facilities in the RGV and El Paso Sectors;
15
     demographic data regarding class members in CBP custody; data regarding the time
16
     that class members spend in CBP custody; and data regarding the size of available
17   holding areas.
18         (ii) The Juvenile Care Monitor may notify Class Counsel if capacity in CBP
19   facilities holding class members in the RGV or El Paso Sectors reaches 90% or more
20   for a period of more than 72 hours.
21         (iii) During any periods of overcrowding, CBP shall make all efforts to continue
22   to comply with all provisions of the Agreement. To the extent that full compliance is
23   not possible, CBP shall take all necessary steps to mitigate any non-compliance and
24   comply with the Agreement to the extent possible, including, but not limited to, seeking
25   assistance from all appropriate federal and other partners and activating any appropriate
26   internal emergency plans.
27         Monitoring Sectors Not Covered by the Agreement: If, in the course of his or
28   her monitoring duties under the Agreement, the Juvenile Care Monitor identifies any
 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 5 of 6 Page ID
                                 #:47149


1    concerns or issues related to a suspected failure to substantially comply with the
2    Settlement in any Sector outside of RGV or El Paso, the Juvenile Care Monitor may
3    notify the CBP Juvenile Coordinator and the CBP Chief Medical Officer in writing.
4    The Juvenile Coordinator’s Office and/or the CBP Chief Medical Officer, as
5    appropriate, will review the concerns with the Juvenile Care Monitor. The Juvenile

6    Care Monitor may also request to be permitted to conduct further review of the

7    concerns, and CBP may, at its discretion, approve such a request. CBP may also request
     that the Juvenile Care Monitor provide a recommendation following any such review.
8
           Term of Monitoring: The Juvenile Care Monitor shall be appointed to a single
9
     term of sixteen months from the date of appointment by the Court. The Juvenile Care
10
     Monitor’s fifth and final quarterly report shall be submitted fourteen months after
11
     appointment by the Court. Within 30 days of receiving this final report, the Parties shall
12
     meet and confer regarding whether the Juvenile Care Monitor’s term shall be extended.
13
     If no agreement is reached, Plaintiffs may petition the Court for a single extension of
14
     the Monitor’s term. Such an extension request must be accompanied by the specific
15
     instances of non-compliance that Plaintiffs believe justify the extension. Plaintiffs bear
16
     the burden of proving non-compliance.
17         Transfer of Monitoring to CBP: At the completion of the Juvenile Care
18   Monitor’s term, CBP shall assume responsibility for monitoring compliance with the
19   terms of the Agreement, including monitoring whether there is overcrowding, as
20   defined above. For a period of thirty days after the Juvenile Care Monitor’s term ends,
21   the Juvenile Care Monitor will work with the CBP Juvenile Coordinator to ensure an
22   effective transition of monitoring functions, and will be compensated for this work.
23         During the Juvenile Care Monitor’s term, CBP shall provide the Juvenile Care
24   Monitor with all monitoring protocols, including medical monitoring protocols and
25   protocols developed by the Juvenile Coordinator’s Office (“JCO”). The Juvenile Care
26   Monitor may review those protocols and advise CBP on any enhancements or further
27   refinement. Prior to the effective transition of monitoring functions, the Juvenile Care
28   Monitor shall approve CBP’s final monitoring protocols. The JCO and the CBP Chief
 Case 2:85-cv-04544-DMG-AGR Document 1280 Filed 08/03/22 Page 6 of 6 Page ID
                                 #:47150


1    Medical Office shall rely on such approved monitoring protocols, but retain discretion
2    to update and amend such monitoring protocols, as appropriate.
3
4    IT IS SO ORDERED.
5
     DATED: August 3, 2022                       ______________________________
6                                                DOLLY M. GEE
7                                                UNITED STATES DISTRICT JUDGE
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
